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   1                      UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
   2                          ALEXANDRIA DIVISION

   3
       ------------------------------x
   4                                  :
       JOHN DOE                       :
   5                                  :
                           Plaintiff :
   6                                  :
                    versus            : Civil Action Number
   7                                  :
       MARYMOUNT UNIVERSITY, et al    : 1:17-CV-401
   8                                  :
                           Defendants.:
   9   ------------------------------x

 10                                          September 15, 2017

 11                 The above-entitled Motion to Dismiss was
       continued before the Honorable T.S. Ellis, III, United States
 12    District Judge.

 13                   THIS TRANSCRIPT REPRESENTS THE PRODUCT
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 14                   COURT, WHO HAS PERSONALLY CERTIFIED THAT
                      IT REPRESENTS TESTIMONY AND PROCEEDINGS OF
 15                   THE CASE AS RECORDED.

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                                                                              2
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 20    OFFICIAL UNITED STATES COURT REPORTER:

 21                   MS. TONIA M. HARRIS, RPR
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 25


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   1                             P R O C E E D I N G S

   2

   3                THE DEPUTY CLERK:     John Doe vs. Marymount

   4   University, et al.     Civil Case Number 1:17-CV-401.

   5                MR. DILLON:    Good morning, Your Honor.       Justin

   6   Dillon for plaintiff, John Doe.

   7                THE COURT:    All right.    And who's here for the

   8   defendant?

   9                MR. WATERS:    Good morning, Your Honor.       Jason Waters

 10    for defendant, Jane Roe.

 11                 THE COURT:    And is that the only defendant that's at

 12    issue today?

 13                 MR. DILLON:    Yes, Your Honor.

 14                 MR. WATERS:    Yes, Your Honor.

 15                 THE COURT:    And that's because the plaintiff has

 16    alleged a defamation against that person alone, is that

 17    correct?

 18                 MR. WATERS:    That's correct, Your Honor.       There's an

 19    assault count.

 20                 THE COURT:    And now the -- that defendant seeks a

 21    dismissal under 12(b), because it's barred under the single

 22    publication statute of limitations rule.          The statute

 23    beginning to run in November.        And the question is whether

 24    there's a single publication issue.

 25                 All right.    Let me hear first -- and also there's


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                                                                               4
   1   a -- an immunity issue and a qualified immunity issue.

   2                All right.    Let me hear first from the movant.       Make

   3   it brief, because if you've already said what you're going to

   4   tell me in your brief, you're wasting my time and the time of

   5   everyone else in here.

   6                MR. WATERS:   Of course, Your Honor.      May I please

   7   the Court.    Ms. Roe is moving --

   8                THE COURT:    Let me -- Mr. Fitzpatrick, you're here

   9   for a plea?

 10                 (Discussion off the record.)

 11                 THE COURT:    All right.   Go ahead, sir.

 12                 MR. WATERS:   Thank you, Your Honor.      I believe that

 13    the motion papers have quite substantially limited the issues.

 14                 THE COURT:    Mr. Simms is here.

 15                 (Discussion off the record.)

 16                 MR. WATERS:   Thank you, Your Honor.

 17                 The motion papers in this case have quite

 18    substantially limited the issues with regard to the statements

 19    that are at issue with regard to my client.          There were a

 20    variety of statements attributed to Ms. Roe in the complaint

 21    and I think that in the motion practice we really limited them

 22    down to only two statements that were made within one year of

 23    filing.   These are the statements that are allegedly made in a

 24    victim impact statement in June of 2016 and an appellate

 25    response in July of 2016.      I think -- I understand counsel has


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   1   agreed that none of the proceedings statements that were

   2   attributed to my client were made within one year of her

   3   filing.   So the only statements that we're looking at for the

   4   defamation per se claim are the ones made in June and July of

   5   2016.

   6              So the first issue is whether, under Your Honor's

   7   decision in Katz v. Odin, Feldman, whether those statements

   8   are timely and adequately pleaded to state a defamation claim.

   9              We also have, as I understand it, agreed that the

 10    statements that were made in June and July of 2016 are at

 11    least qualified or -- enjoy qualified immunity under Virginia

 12    law meaning that they may only proceed against my client if

 13    the plaintiff is able to establish malice and allege

 14    sufficient facts to show that the evidence would be able to

 15    establish malice by a clear and convincing evidence.

 16               So the -- the three issues are:       First, whether the

 17    June and July statements are timely and adequately pleaded.

 18    Second, whether those statements which were made in the

 19    context of a Title IX investigation and pursuant to federal

 20    statute -- conducted pursuant to federal statute enjoy

 21    absolute immunity under Virginia law in the First Amendment.

 22    And third, whether the statements -- whether the complaint

 23    adequately stated facts that would show malice in order to

 24    allow them to go forward if absolute immunity is not available

 25    to them in this case.     Regarding the statute of limitations


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   1   issue, if you look at the --

   2               THE COURT:    Tell me again what you -- what you claim

   3   are the only two statements at issue?

   4               MR. WATERS:    Yes, Your Honor.

   5               In the single count against my client, there are two

   6   statements that were made within one year of March 31, 2017.

   7   It is a June victim impact statement and a July appellate

   8   response.   These were submitted as part of the Title IX

   9   investigation.    Plaintiff counsel does not allege the contents

 10    of those statements.      The allegations in the complaint are

 11    limited to:    Upon information and belief Ms. Roe stated that

 12    there was a sexual assault.

 13                What's critical about those two statements is that

 14    the allegations mirror the same allegations regarding prior,

 15    admittedly untimely statements.       So in our view the Katz case

 16    is actually quite controlling here, particularly Your Honor's

 17    discussion about defamation and continuing tort.          As you may

 18    recall in the Katz case, one of the arguments that the

 19    plaintiff made was that the letter that was submitted to the

 20    arbitration panel was subsequently repeated by counsel at the

 21    arbitration hearing.      And that because those statements were

 22    repeated, it constituted a continuing tort and Your Honor

 23    recognized that's not the case.       Both in the Katz case and

 24    then in the Lewis v. Gupta case.

 25                It is clear to us and we believe, based on the --


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   1   also the motion practice as well as the pleadings, that while

   2   it's not characterized as trying to fit this in as a

   3   continuing tort, that's precisely what the plaintiff is trying

   4   to do here.    Because the plaintiff doesn't know what the

   5   contents of the statements were made in June and July of 2016.

   6   The allegations are made purely upon information and belief.

   7   And there's no other information about those statements

   8   included in the complaint.      And if Your Honor looks at the

   9   complaint in the context of those two statements disregarding

 10    all of the information in the allegation with regard to

 11    statements that are attributed to, are long before the

 12    admittedly untimely statements, there's simply not enough to

 13    qualify under either Rule 8's pleading standards or the

 14    Virginia requirement that the def -- and defamatory words be

 15    pleaded in haec verba or the precise words.

 16                 THE COURT:    You understand that Virginia pleading

 17    rules don't apply here.      It's the federal rules of civil

 18    procedure.

 19                 MR. WATERS:   Of course, Your Honor.      Yes, and in

 20    that regard, I note that we cited two cases in our brief that

 21    both -- both Eastern District of Virginia cases, I believe

 22    within the last five years, the McGuire and the Golumamine

 23    case, I believe, that indicated that the Eastern District will

 24    look to the Virginia pleading standards with regards to the

 25    sufficiency of an allegation on a defamation claim.


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   1              Now I have to admit in candor, after we filed our

   2   reply brief in this case we did learn of a decision from the

   3   Western District of Virginia.      This came out August 3, 2017.

   4   This is the Cameron Jackson v. Liberty University case, where

   5   the Western District in an unreported decision, citing an

   6   unreported Fourth Circuit decision, indicated that essentially

   7   that the pleading requirements under Rule 8 did not require

   8   the precise words, but we seem to have this conflict between

   9   the Eastern District cases, the McGuire case and the

 10    Golumamine case that we cited, which is that the Eastern

 11    District courts will look to that statute.

 12               THE COURT:    Well, it doesn't say that they're going

 13    to be governed by that.

 14               MR. WATERS:    No, but it is something that the courts

 15    are looking at and considering.

 16               THE COURT:    I think that's pretty clear that Rule --

 17    that the federal rules apply, not state pleading rules.

 18               MR. WATERS:    Well, I'm not asking the Court to

 19    apply --

 20               THE COURT:    I'm not an author of any of those, am I?

 21               MR. WATERS:    No, Your Honor.

 22               THE COURT:    I wouldn't have done that.

 23               MR. WATERS:    I'm not asking the Court to apply state

 24    pleading rules, but I am asking the Court to consider, when

 25    we're looking at the Virginia tort of defamation, this is a


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   1   state law tort claim.     We're looking at the sufficiency of

   2   these particular pleadings, the only thing that is said about

   3   the statements in June and July of 2016 is that she said there

   4   was a sexual assault.     And only upon information and belief,

   5   which even under -- under cases interpreting Rule 8, the

   6   qualifier upon information and belief must be viewed with

   7   great suspicion, because it indicates that the allegations are

   8   tenuous at best.    But what we're looking at is the plaintiff

   9   doesn't know what was actually said in those two statements.

 10    But the plaintiff does have a good idea and it does know what

 11    was stated much earlier in untimely statements.

 12                So when you compare this with the Katz v. Odin,

 13    Feldman case, it's pretty clear what we're really trying to do

 14    is kind of argue that this is essentially a continuing tort.

 15    Arguing that these June and July statements in the exact same

 16    context, okay, the Title IX investigation, essentially

 17    continue the tort or relate it back to its original statements

 18    and it's simply both from the Court's decision I believe in

 19    Katz as well as applicable decisions interpreting Rule 8

 20    indicates that this is not sufficiently pleaded to state a

 21    defamation claim for those two statements.         As well as to show

 22    that those two statements frankly are untimely, because the

 23    claim with regard to those two statements is untimely because

 24    essentially we're trying to relate them back to the prior

 25    comments.


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   1               Should the Court disagree that the claims with

   2   regard to those two statements are either untimely or that

   3   those claims are sufficiently pleaded, we respectfully submit

   4   to the Court that these statements were made in the context

   5   that enjoys absolute immunity under Virginia law and under the

   6   First Amendment.

   7               And again, continuing a trend from the preceding

   8   case we ask your Court to -- Your Honor to review the Court's

   9   decision in Katz v. Odin, Feldman.

  10               The -- these Title IX proceedings from the student's

  11   perspective are unquestionably quasi judicial matters.

  12   There's no question that a student who is before the

  13   university with a grievance of sexual assault is putting

  14   themselves in a position where the university, pursuant to a

  15   federal statute, must investigate and adjudicate the events

  16   that transpired and form the basis of the complaint.

  17               There's no question from their perspective that the

  18   university will be making a decision as to essentially their

  19   rights as students of that campus and that this university

  20   must do so pursuant to federal law.        In fact, the plaintiff's

  21   complaint itself is replete with language that shows the quasi

  22   judicial nature of this.

  23               There will be an investigation.       There will be an

  24   adjudication.    There's a standard of determination, which is

  25   preponderance of the evidence.       There is notice.     There are


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   1   opportunities for appeal.      There's an equal opportunity under

   2   the policies to be heard.      The university's investigators

   3   prepare a report.     The students have the opportunity to

   4   comment on their report.      They have an opportunity to submit

   5   evidence and identify witnesses.

   6                THE COURT:    All of that state involvement is

   7   sufficient to convert what the defendant Marymount does to

   8   state action sufficient to trigger the 14th Amendment?

   9                MR. WATERS:   I'm sorry, Your Honor.      I don't

  10   understand your question.

  11                THE COURT:    You're emphasizing the state

  12   involvement.    I'm asking whether that state involvement is

  13   sufficient to trigger the application to Marymount of the 14th

  14   Amendment in the procedures they use to investigative these

  15   matters.

  16                MR. WATERS:   Your Honor, I apologize if I've

  17   misspoken.    I'm not intending to emphasize state involvement.

  18   What my intention is is to show the characteristics of this

  19   proceeding under Marymount's procedures pursuant to federal

  20   law demonstrates that it has the nature --

  21                THE COURT:    All right.   Pursuant to federal law,

  22   does that -- does that mean that the 14th Amendment is

  23   triggered so that Mr. Doe here would have 14th Amendment right

  24   to due to process in the way he's treated by Marymount?

  25                MR. WATERS:   Well, I don't represent Marymount and


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   1   I -- and I'm not making any representations with regard to the

   2   application of the 14th Amendment.

   3               THE COURT:    Refresh my recollection, which defendant

   4   do you represent?

   5               MR. WATERS:    Jane Roe, the student.     My client

   6   complained of being sexually assaulted to the university which

   7   conducted the investigation.

   8               THE COURT:    All right.

   9               MR. WATERS:    The applicable inquiry under Virginia

  10   law with regard to absolute immunity is the quasi judicial

  11   nature or the characteristics of the proceeding that --

  12   whether they resemble a judicial proceeding.         What I'm

  13   arguing, Your Honor is that the characteristics of this

  14   proceeding, according to the plaintiff's own pleadings and the

  15   policy that existed for these students, resembled very much a

  16   quasi judicial proceeding such that the statements the student

  17   makes in the context of this proceeding should be absolutely

  18   immune, because to do otherwise would chill speech on such a

  19   critical issue, a sexual assault on campus.

  20               If anything else, the absolute immunity encourages

  21   the frank and robust litigation of these issues within the

  22   context of the Title IX investigations.

  23               THE COURT:    Well, they are litigated.      You know

  24   they're not bound by due process or anything else?

  25               MR. WATERS:    But --


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   1               THE COURT:    There isn't any robust litigation of

   2   these things by Marymount.      Give me a break.

   3               MR. WATERS:    Well, their procedures include the

   4   elements that I've outlined.       And as far as the students are

   5   concerned, they're bound by the university's procedures.           They

   6   must proceed under the university's rules.         This isn't a

   7   situation where the student, such as a university may, for

   8   example, seek absolute immunity for its own statements with --

   9   and to -- to essentially cover its own perhaps deficiencies on

  10   it -- with regard to due process.       The students don't have a

  11   choice here.

  12               THE COURT:    I'm merely cautioning you about talking

  13   about robust litigation.      It isn't that.

  14               MR. WATERS:    My point, Your Honor, and I -- and I --

  15   and I understand.     But my point was, by affording absolute

  16   immunity to these statements it allows the students who are

  17   the victims of sexual assault or being accused of sexual

  18   assault, falsely or correctly, of having the protection to

  19   speak candidly and frankly with their universities when these

  20   investigations are underway.       And that is simply my point.

  21               And I would argue that this is quite analogous to

  22   the Katz situation which the fee arbitration proceeding in

  23   that matter was also done pursuant to the statute.          It was

  24   done pursuant to the Virginia fee arbitration statute.

  25               So, there are a variety of characteristics that make


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   1   this proceeding resemble a judicial proceeding and

   2   particularly from the perspective of the students.          Should

   3   absolute immunity not apply to the statements?         I believe

   4   counsel and I agree that the statements that we're looking at,

   5   only the June and July 2016 statements enjoy at least

   6   qualified immunity requiring sufficient allegations to show

   7   that the plaintiff be able to prove by clear and convincing

   8   evidence that the statements were made maliciously.          And this

   9   is particularly significant when you look at the pleadings in

  10   this case as well as the plaintiff's response.

  11               All of the allegations -- first of all, the

  12   allegations of the complaint simply state they were made

  13   maliciously.    There is no factual predicate given in the

  14   actual account with regard to the basis for the malice claim.

  15               When you look at the other allegations throughout

  16   the complaint with regard to conduct as well as the ones that

  17   are cited to in opposition to our motion, counsel is looking

  18   at things that happened the night of the event, November 8th

  19   of 2014, and asking the Court to say that those events suggest

  20   that the statements nearly two years later were made

  21   maliciously.    There's absolutely nothing in the complaint or

  22   the count itself or the opposition to our motion that suggest

  23   the context of those statements made in June and July of 2016.

  24   In fact, the complaint shows that my client was asked to give

  25   these statements by the university as it was proceeding in


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   1   this investigation.     There's no indication that she was acting

   2   out of a sense of revenge, there's no indication that she was

   3   acting out of feelings of rejection.        It was with regard to

   4   this.    But the only statements that are or the only acts and

   5   conduct that were pointed to, to show, well this could have

   6   been done maliciously are 8 to 18 months prior to the

   7   statements that are the only issues in the case.

   8               And again, the recent decision regarding Liberty

   9   University is actually illustrative in that respect because

  10   that Court allowed the claim to go forward on qualified

  11   privilege with regard to the malice question.         And in that

  12   case the student -- the complaining student, the victim

  13   student, were saying things like expletive Liberty University

  14   made statements indicating an intent to gain retribution

  15   against the football team, which was involved in the claim.

  16   And made particularly pointed statements about suggested that

  17   the assault never actually happened.

  18               So when you look at these particular statements, in

  19   the context of Title IX, given at the request of the Title IX

  20   adjudicator and without any context that suggest that in June

  21   or July of 2016 she's acting in any form of malice.          We

  22   respectfully submit for the reasons that we've cited on all

  23   three of those reasons in the issues in this case, the

  24   complaint should be dismissed with prejudice without leave to

  25   amend.


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   1                THE COURT:    All right.

   2                MR. DILLON:   Thank you, Your Honor.      May it please

   3   the Court.    I agree completely with Mr. Waters' framing of the

   4   issues.   I think we're on all fours there.

   5                THE COURT:    So it's two statements that we're

   6   focusing on?

   7                MR. DILLON:   That's correct, Your Honor.

   8                So I want to start and just provide a little bit of

   9   context and I'll go to the three issues.         This is not the

  10   typical kind of sexual assault case.        Mr. Doe isn't someone

  11   who lost a swearing contest, is upset about that, and is now

  12   basically going after the complainant just because he believes

  13   they should have believed him.       It's a lot more than that.        I

  14   can highlight three particular pieces of evidence that show or

  15   strongly suggest that this is a false and defamatory

  16   allegation.

  17                Number one, the text messages.      That night about

  18   roughly an hour-and-a-half after what the complainant later

  19   alleged would be an incredibly violent sexual assault in which

  20   the -- Mr. Doe literally chased her as she ran away.           He

  21   texted her saying, "Hey, y'all ain't going out tonight?"            And

  22   she responded, "I'm eating pizza, ha ha."         So you got sort of

  23   a fun light-hearted text exchange between them just

  24   hour-and-a-half after, not some sort of, you know, drunken

  25   hookup that both of them sobered up from but a violent, very


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   1   violent sexual assault.

   2               But number two, you have her own female roommate

   3   L.J. who said that when Ms. Roe came back from her dorm she

   4   was, quote, happy; quote, giddy; said that Mr. Doe was quote,

   5   good with his tongue and showed off the hickeys that he gave

   6   her.

   7               THE COURT:    The what?

   8               MR. DILLON:    Showed off the hickeys that he gave

   9   her.   And that she started to, only when she continued to

  10   drink and was ignored by the people who didn't want to hear

  11   about this interaction, did she start to take -- her

  12   conversations started to take a darker turn, when she wasn't

  13   getting the attention that she wanted.

  14               And then finally, the third factor, is just the

  15   sheer physical impossibility of what she alleges.          I mean

  16   there's a lot of it.      But I think the -- the risk of being

  17   graphic, Your Honor, it's her allegations that while she was

  18   standing up Mr. Doe took his entire fist and forced it inside

  19   of her vagina.     You think anyone with a passing knowledge of

  20   human biology will understand that is impossible, but that is

  21   what she said.     Not punched, put the whole thing inside.

  22               So, I think that is important background.        This

  23   isn't just they should have believed me.        It's, I have

  24   contemporaneous evidence about what actually happened that

  25   night in the falsity of her statements.


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   1               So with that as background, I'll go through the same

   2   factors that Mr. Waters went through in the same order.           First

   3   with respect to the statute of limitations, Mr. Waters makes

   4   much of the fact that we don't know what was said in June and

   5   July of 2016.    And as we made quite clear in our pleading,

   6   Your Honor, that's because Marymount won't tell us, which is

   7   actually a violation of federal law.        Under FERPA, the Federal

   8   [sic] Educational Records and Privacy Act, they're supposed to

   9   give him a copy of his educational record which would include

  10   everything here.     He asked for it after this whole thing was

  11   over in September of last year.       They refused to give it to

  12   him.   When he asked for a redacted version, he was told by

  13   defendant McMurdock that there's no way that we can redact it

  14   enough so that you can't figure out who was saying what.           Even

  15   when, of course, he knows who everybody is.         And what we were

  16   asking for included the victim impact statement of the

  17   complainant and he knows who she is, and her response to his

  18   appeal, and again he knows who she is.

  19               So it would be -- I don't know what the word is --

  20   more than absurd to hold Mr. Doe responsible for not knowing

  21   the content of secret ex parte statements that he asked to

  22   look at and was not allowed to look at.        So -- and I think

  23   that's point one.

  24               Point two is, the idea that you can't -- Mr. Waters

  25   wants to make this a temporal distinction about, Well, we


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                                                                             19
   1   don't know what she said in those statements and how that

   2   relates back.    We're not alleging any sort of continuing tort.

   3   This isn't a Katz case, it's a Lewis v. Gupta case.          Right?    I

   4   mean this is a day where I think we're just quoting Your Honor

   5   over and over again.     But Your Honor's opinion in Lewis v.

   6   Gupta, and this is on all fours on that.        Here, just like in

   7   Lewis v. Gupta, you have an initial report -- allegedly false

   8   report of sexual assault.      Here, just like in Lewis v. Gupta,

   9   that initial report is time barred.

  10               Here, just like in Lewis v. Gupta, you have two

  11   later additional statements to the law enforcement authorities

  12   in Lewis v. Gupta and here in the Title IX process.          And in

  13   Lewis v. Gupta Your Honor held that although the first report

  14   was indeed time barred, it is sort of Hornbook law, and it's

  15   even so basic it's in every statement, that when you repeat a

  16   defamatory statement, it is a new tort each time.          That is

  17   what you held.

  18               This isn't a Katz case.     And I understand what they

  19   want to do with the Katz case.       But in Katz it's different.

  20   In Katz there was a defamatory letter that was sent to an

  21   arbitration hearing and then talked about.         But there was only

  22   one -- and they were just litigating the content of the

  23   defamatory statement.      So this is -- and this -- so this is

  24   not at all a Katz case.      It is on all fours with Lewis v.

  25   Gupta.   And that makes sense.      I mean again it's in the


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   1   restatement.    It is just Hornbook law that if you say it

   2   later, according to law enforcement, that it's a new tort.

   3               So that's all I have to say on the limitations issue

   4   unless the Court has any questions on that.

   5               With respect to absolute privilege or qualified

   6   privilege, Mr. Waters does his level best to talk about -- to

   7   sort of make this process at Marymount sound quasi judicial.

   8   I would say it is as similar to a judicial proceeding as a

   9   raccoon is to a horse.      And that they both have four legs, but

  10   things tend to diverge after that.        Okay.   Here is what you

  11   don't get at Marymount:      You don't get cross-examination, you

  12   aren't allowed to subpoena witnesses, you aren't even allowed

  13   to speak to witnesses, anybody in the case at all.          Not just

  14   the complainant.     You literally can't interview witnesses.

  15   You're not allowed to see the actual evidence against you.

  16   You just get the investigators' statements, summarizing

  17   witness testimony.     There is, of course, no threat of perjury.

  18   Attorneys can serve as advisors in these processes, but they

  19   are not even allowed to talk.       And I can tell you from

  20   personal experience are reprimanded when they try to.

  21               And finally, and this is -- and I think it's hard to

  22   pick -- the most -- the craziest part of the policy, but you

  23   aren't even allowed to meet with the person making the

  24   decision.    The investigators make this investigative report,

  25   they give it to you and then they hold back the juicy bit that


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   1   has the determination about whether he did it or not.           You

   2   don't get to see that.      That then goes to the adjudicator who

   3   you never get to meet with.      We tried.    We asked for it.     They

   4   said no.

   5               THE COURT:    I take it you were counsel in the Doe

   6   case that I had previously?

   7               MR. DILLON:    I was, Your Honor.

   8               THE COURT:    I take it you've considered carefully

   9   whether this case could fit under the 14th Amendment?

  10               MR. DILLON:    You know, Your Honor, Jed Rubenfeld has

  11   a very interesting article out --

  12               THE COURT:    Who has?

  13               MR. DILLON:    A Yale law professor has an interesting

  14   article that came out earlier this year raising exactly this

  15   claim that basically -- or argument that essentially has the

  16   education department so commandeered the Title IX process that

  17   it converts private actors into state actors.         I think it is a

  18   fascinating intellectual argument that I may make one day but

  19   it's aggressive and so I'm trying to be modest.

  20               THE COURT:    When was the article published?

  21               MR. DILLON:    Earlier this year.     I don't remember

  22   exactly but it was Jed Rubenfeld.       I think it was in the Yale

  23   Law Journal, but it was, I think 2017, maybe late 2016, but

  24   within the last 12 months.      So it is an interesting argument

  25   that I may make one day, but I'm not making today.


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   1                THE COURT:    Well, your cocounsel was on his way to

   2   making it.

   3                MR. DILLON:    If he wants to, and I think quite

   4   rightly, he's not here representing Marymount.

   5                So when you don't even get to meet with the person

   6   making the decision, it's kind of hard to call that quasi

   7   judicial.    And that's, you know, the Elder v. Holland case.

   8   Right?   And Virginia Supreme Court said that the -- the

   9   process for police discipline was not quasi judicial such that

  10   you got absolute immunity as the privilege because there was

  11   no subpoena power, you can't compel witnesses, no perjury

  12   penalty, no rules of evidence.       The same thing in Cleavinger,

  13   no compulsion or cross-examination, no discovery, no verbatim

  14   transcript, no rules of evidence.

  15                And also, Your Honor, qualified privilege makes

  16   sense here.    Right?     I mean it just does.    You only have a

  17   qualified privilege, you only -- excuse me -- you only have

  18   qualified privilege if you lie to the police.          And when you --

  19   and in the police process, of course, you get all the

  20   constitutional protections.       If that only gets qualified

  21   privilege, why would statements made, and in context, where

  22   you have far fewer rights get more privilege.          Plus imagine

  23   what the incentives you would create, right; what would

  24   absolute privilege mean if you did that?         You would have

  25   complete immunity from false statements in the investigation


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   1   process.    So you got a bad break.     Well, there's a way around

   2   that.   Go to the Title IX office and say your professor

   3   sexually harassed.     And he can't do anything about it as long

   4   as you only stay at the Title IX office.

   5                You're mad at your roommate, you don't like him, he

   6   smells bad, he smokes.      Say you saw him cheating and there

   7   would be literally no remedy for that.        That is crazy.     And

   8   that's not the law.

   9                So that takes us to malice, Your Honor.       I think we

  10   are firmly in and we've admitted that we're in the qualified

  11   privilege land.     And I think the question here is, Does

  12   falsely accusing someone of sexual assault constitute malice?

  13   I think that to sort of ask that question, Your Honor, is to

  14   answer it.    And again, I want to distinguish what kind of case

  15   this isn't.    This isn't a case where you don't have any other

  16   evidence like we have with the text messages or the roommate

  17   where you can maybe believe that someone, a complainant

  18   managed to convince herself, for whatever reason, that

  19   something she didn't like was nonconsensual.         That's not this.

  20   This wasn't a drinking case or anything like that.          This was

  21   an alleged violent sexual assault which she went right back to

  22   her dorm room and praised the alleged perpetrator as being

  23   good with his tongue and all those things.

  24                So malice, of course, doesn't include just actual

  25   malice.    It includes statements that were made with such


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   1   indifference and recklessness as to amount to a wanton or

   2   willful disregard of the rights of the plaintiff.

   3                What's the motive here?    Mr. Waters seeks, I think,

   4   gainly, to say you can't look back at the original statements,

   5   to seek motive about for what she later said in July -- June

   6   and July of 2016.     I don't really see the -- I don't see the

   7   logic of that to be honest.      Of course you can.     You know

   8   it's -- she's falsely reporting the same sort of operative

   9   facts.   And here, her own roommate said that she -- she wasn't

  10   getting the attention that she wants and she, you know, made

  11   it up for this reason.      I think sort of implies that she may

  12   have made it up for this reason.       And that she does have a

  13   tendency, according to her own female roommate, sort of cast

  14   herself as a victim.     Again, we allege these things in our

  15   complaint.

  16                This is similar, Your Honor.     It may sound crazy to

  17   say, Why would someone do this?       Why would you allege this

  18   violent sexual assault just because you want attention?           I

  19   don't know.    Let's think of the Jackie case, the UVA case,

  20   where, as I think the Washington Post has now made clear to

  21   everybody in -- and I think so have the court system, what did

  22   you have there, Jackie fabricated a sexual assault by a bunch

  23   of guys in a fraternity in order to get another guy to like

  24   her and sympathize with her.       She may have had nothing against

  25   the fraternity guys.     I think they were just maybe a means to


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   1   an end, which was to get the other guy to like her.          But, of

   2   course, I don't think anybody could look at that and say that

   3   is such a statement of an alleged gang rape was not made with

   4   actual malice.     And I think again that's here.      You don't --

   5   we don't have to at this stage of the process, Your Honor, the

   6   motion to dismiss stage, to plum her mind to know exactly what

   7   happened.    But I think we can infer based on everything --

   8   based on the very fact of a false allegation of sexual assault

   9   and what that does and the fact that she again pursues it all

  10   the way through June and July of last year that it was made

  11   with, at a minimum, wanton or willful disregard, gross

  12   indifference of recklessness as to amount to a wanton and

  13   willful disregard of the rights of the plaintiff.

  14               Again, this case might be different if it were two

  15   people who got drunk at a bar, went home, slept together and

  16   the complainant wakes up the next day and says "I was too

  17   drunk to consent."     That might not be wanton and willful.

  18   This is not that case.      This is a case with more

  19   contemporaneous evidence.      There is no real significant

  20   alcohol consumption involved and it's an allegedly violent

  21   rape, that they're texting about in a cutesy way just an

  22   hour-and-a-half later.

  23               And that's all I have.

  24               THE COURT:    All right.

  25               MR. DILLON:    Thank you, Your Honor.


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   1               THE COURT:    Yes.    Do you have anything you want to

   2   add?

   3               MR. WATERS:    Very briefly, Your Honor.

   4               Counsel mentions the text messages, but he omits the

   5   fact that a few weeks after the fact there was a text exchange

   6   where my client told Mr. Doe that she felt that he was

   7   aggressive with her and he apologized.

   8               So I think that the arguments with respect to the

   9   truth and falsity of this have to be viewed in the context of

  10   the fact that, one, we have an apology and --

  11               THE COURT:    I don't have to make a determination

  12   about truth and falsity in this stage, do I?

  13               MR. WATERS:    Well, neither does "eating pizza, ha

  14   ha" have -- bear on the truth or falsity of it any less, I

  15   believe, Your Honor.

  16               With respect to the absolute immunity argument, to

  17   be clear I'm not making a 14th Amendment argument, I'm making

  18   an argument under the Virginia Supreme Court standards with

  19   regard to when absolute immunity applies.          And what we're

  20   looking at are the characteristics of the proceeding and the

  21   ability to subpoena witnesses or to engage in confrontation to

  22   confront the witness is not the sine qua non of absolute

  23   immunity under Virginia law.        They may be considerations but

  24   they are not the absolute determinative factors.            And when you

  25   look at the plaintiff's complaint in its entirety, I believe


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   1   that there's more than sufficient allegations to show that

   2   these procedures were quasi judicial.

   3               THE COURT:    Tell me what these two -- the dates of

   4   these two statements again?

   5               MR. WATERS:    June 2016 and July 2016.

   6               THE COURT:    Both of those are within the statute of

   7   limitations?

   8               MR. WATERS:    They were, Your Honor.

   9               THE COURT:    So the single publication rule, all of

  10   that is sort of swept away?

  11               MR. WATERS:    Well, our argument, Your Honor, is this

  12   is much like the Katz situation where there was an oral

  13   representation of the statements that were made in the

  14   original letter and that when you look at these statements, as

  15   they are pleaded, it is essentially an attempt to call it a

  16   republication but it really is an attempt to boot strap off

  17   the earlier statements in a continuing tort type of way.

  18               And then with regard to qualified immunity, there is

  19   zero context alleged in the complaint with respect to when the

  20   June and July statements were made except for the allegations

  21   that show that these statements were made at the request of

  22   the Title IX adjudicator.      Under those circumstances we

  23   submit, Your Honor, that there is no -- not sufficient to meet

  24   the malice standard to allow the plaintiff to proceed.

  25               THE COURT:    The matter is before the Court on a


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                                                                               28
   1   motion to dismiss at threshold level.

   2                MR. DILLON:   Thank you, Your Honor.

   3                THE COURT:    I am puzzled -- yes, did you --

   4                MR. DILLON:   No, I said thank you.      Sorry.

   5                THE COURT:    -- raises some interesting questions.

   6   But we need to get about litigating this case and I've got to

   7   resolve it one way or the other.        I am going to write briefly

   8   on these issues.     Very briefly.    I think there's -- that the

   9   statements are not barred by the statute of limitations.            And

  10   I don't think qualified or absolute immunity apply, but I'll

  11   write about that to give you a bit more context.

  12                It's sad to me that these things progress the way

  13   they have.    But then these are young people and for some

  14   reason -- I mean, I think, today these are much better times

  15   than 50 years ago.     Much better.     Lots of things are better in

  16   our society than they were 50 years ago.         It's by far better.

  17   Especially if you're a woman or an African-American, much

  18   better today.

  19                When I first came to this country, there were

  20   separate drinking fountains, separate places for people to sit

  21   depending on the color of their skin.         Thank goodness we don't

  22   have that anymore.

  23                But what we don't have anymore and what we did have

  24   back then is young people had personal responsibility.            And

  25   these are young people at these universities.          I went to a


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   1   university when I was much younger and saw other universities.

   2   Now, there were probably a lot things that happened at

   3   universities that I never knew about.        But I can tell that you

   4   when I was at a student of university I never heard of drugs,

   5   never saw any drugs, never heard of any drugs.         The big thing

   6   was 3.2 beer.    Sexual assault was unheard of.       It's just a

   7   different world in that respect and I'm sorry about that,

   8   because this is the trouble young people get into.

   9               But this -- the motion to dismiss is denied for

  10   reasons that I'm going to state more fully.         But these are

  11   young people who need to get on with their lives and need to

  12   begin to accept the responsibility of being adults.          I doubt

  13   that Jane Roe or Doe are juveniles anymore.         They are both

  14   adults now, aren't they?

  15               MR. WATERS:    Yes, Your Honor.

  16               THE COURT:    Well, they've got to begin living like

  17   adults, supporting themselves, getting a job, doing

  18   responsible things, not violating the law.         And one of the

  19   ways they can do it, is to settle this case.         Get it out of

  20   the way.    Get it done, get it behind them, lessons learned.

  21   Don't do this again, don't do that again, and why they

  22   shouldn't do it.     But I am going to write briefly about this.

  23               Now what stage is this matter in?       And what, if

  24   anything, can I do to aid the parties, including parties not

  25   here, to see if they can resolve this matter?         Your client, I


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   1   take it, is no longer a student at Marymount?

   2               MR. DILLON:    Correct, Your Honor.     He's suspended

   3   for two years.

   4               THE COURT:    All right.   And have you had any

   5   discussions with the other defendants about how to resolve

   6   this thing?

   7               MR. DILLON:    Yes, Your Honor.    And at this time and

   8   we've had -- I will say this, I'm sure Your Honor remembers I

   9   had a good working relationship with defense counsel in the

  10   George Mason case.     We weren't at each other's throats.        And I

  11   think Mr. Waters and I have friendly conversations as do the

  12   attorney for Marymount as well.

  13               At this time, you know, we've had -- we've talked, I

  14   think, in general about settlement.

  15               THE COURT:    Did that case ultimately get settled?

  16               MR. DILLON:    No, Your Honor, we won on summary

  17   judgment.

  18               THE COURT:    All right.

  19               MR. DILLON:    We were in Judge Nachmanoff's chambers

  20   until 1:30 in the morning for mediation that we thought was

  21   going to settle, but then it didn't settle.

  22               THE COURT:    But I decided it.

  23               MR. DILLON:    You decided it, Your Honor.      So we're

  24   open to it.

  25               THE COURT:    Don't worry.    That was a 14th Amendment


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   1   case.

   2               MR. DILLON:    And I --

   3               THE COURT:    You should be -- your co-defendant

   4   should be glad this isn't a 14th Amendment case.

   5               MR. DILLON:    I'm now thinking I should amend a

   6   second time.    To be honest, Your Honor, I think we are all

   7   realists here, I think that when the -- if -- if we get past

   8   the motion -- if the plaintiff makes it past the motion to

   9   dismiss stage in a civil case, I think that sometimes changes

  10   the --

  11               THE COURT:    Well, I'm going to issue a very, very

  12   brief opinion in this and it will move on, but the -- no

  13   plaintiff is going to get rich in these things.           And no

  14   defendant is going to go to bankruptcy court.           But you all

  15   need to find a sensible resolution of this that puts matters

  16   back in proportion to some extent.

  17               MR. DILLON:    I agree with that, Your Honor.

  18               THE COURT:    I beg your pardon?

  19               MR. DILLON:    I agree with that.      He just

  20   fundamentally, Your Honor, he just wants his reputation back.

  21               And you asked me a procedural question that I did

  22   not finish answering.      May I finish answering?

  23               THE COURT:    Yes.

  24               MR. DILLON:    I got off track.      Where we are with the

  25   Marymount -- do you want me to update you on where we are with


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   1   the Marymount, the case against Marymount?          It's a little bit

   2   complicated, so.

   3                THE COURT:    Well, I might but let's go on.

   4                What, if anything, can the Court do to assist

   5   counsel in perhaps reaching an amicable resolution of this?

   6                MR. WATERS:   May I ask for one clarification, Your

   7   Honor?   Your Honor, I'm sorry.

   8                The Court indicated you plan to deny our motion to

   9   dismiss.    I just want to clarify --

  10                THE COURT:    I'm going to issue an order today

  11   denying it saying a memorandum opinion will follow.

  12                MR. WATERS:   Okay.    I wanted to be clear because we

  13   do have an agreement that our motion, I understand, should be

  14   granted to the extent it relates to statements other than

  15   those two as well as to the agreement.

  16                THE COURT:    All right.   This order I enter will

  17   reflect that agreement.

  18                MR. WATERS:   Okay.    Thank you.   I'm sorry.

  19                THE COURT:    Go on.   What can I do?

  20                MR. DILLON:   I think put the three parties in a

  21   room.    But I think --

  22                THE COURT:    I don't get involved in settlement as

  23   you know.    I don't want my judgment infected by the parties'

  24   positions.    I don't like the settlement process.         And I'm,

  25   more importantly, not very good at it.         Because I generally


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   1   end up thinking people's positions are silly.

   2               MR. DILLON:    Where we are now with Marymount is we,

   3   I think, argued the motion to dismiss against Marymount, I

   4   want to say forgive me, Your Honor, some time -- it was

   5   actually at the end of May.

   6               THE COURT:    And I ruled on that?

   7               MR. DILLON:    No, Your Honor, you haven't ruled on

   8   that.   And then it may be because we have filed a motion to

   9   amend the complaint.      And that is now fully briefed.      We filed

  10   a motion to amend to add essentially a third incident at

  11   Marymount the way it treated a third male student to add to

  12   our Title IX claim.      So that is now fully briefed.      We filed

  13   our reply brief in that on Wednesday.

  14               THE COURT:    All right.   I will decide that

  15   reasonably promptly.      That's enough.    And then I'll tell the

  16   parties to contact -- who's the magistrate judge?

  17               MR. DILLON:    Judge Nachmanoff, Your Honor.

  18               THE COURT:    I'll instruct you all to contact his

  19   chambers.    Thank you.

  20               MR. DILLON:    Thank you, Your Honor.

  21

  22                  (Proceedings adjourned at 12:28 p.m.)

  23

  24

  25


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                                                                             34
   1                          CERTIFICATE OF REPORTER

   2

   3               I, Tonia Harris, an Official Court Reporter for the

   4   Eastern District of Virginia, do hereby certify that I

   5   reported by machine shorthand, in my official capacity, the

   6   proceedings had and testimony adduced upon the Motion to

   7   Dismiss in the case of the JOHN DOE versus MARYMOUNT

   8   UNIVERSITY, et al, Civil Action Number 1:17-CV-401, in said

   9   court on the 15th day of September, 2017.

  10               I further certify that the foregoing 34 pages

  11   constitute the official transcript of said proceedings, as

  12   taken from my machine shorthand notes, my computer realtime

  13   display, together with the backup tape recording of said

  14   proceedings to the best of my ability.

  15               In witness whereof, I have hereto subscribed my

  16   name, this the 24th day of October, 2017.

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  21                                    ______________________________
                                        Tonia M. Harris, RPR
  22                                    Official Court Reporter

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                                      Tonia M. Harris OCR-USDC/EDVA 703-646-1438
                           EASTERN DISTRICT OF VIRGINIA
